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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


_____________________________________
                                                     :
ROBERT A. DADDARIO,
           Plaintiff                                 :
                                                     :
                                                             CIVIL ACTION NO:
V.                                                   :       3:13-CV-01421-VLB
                                                     :
MIDLAND CREDIT MANAGEMENT, INC.,                     :
          Defendant                                  :
                                                     :       December 16, 2014
_____________________________________                :

                               STIPULATION OF DISMISSAL

       NOW COME the parties in the above-entitled action, by their attorneys, and hereby

stipulate that the action be dismissed with prejudice and without costs.


                                              THE PLAINTIFF,
                                              ROBERT A. DADDARIO,

                                              /s/ Michael T. Kogut
                                              Michael T. Kogut (ct27712)
                                              75 Market Place
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                                              Ph. 413-348-2167
                                              Fax 413-739-7168
                                              mkogut@kogutlaw.com

                                              THE DEFENDANT,
                                              MIDLAND CREDIT MANAGEMENT, INC.,

                                              /s/ Nicole R. Fernandes ____
                                              Stephen P. Brown (ct 29214)
                                              Nicole R. Fernandes (ct29311)
                                              Thomas A. Leghorn (ct22106)
                                              Wilson Elser Moskowitz Edelman & Dicker, LLP
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                                              Fax 203-388-9101
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                                  CERTIFICATE OF SERVICE

I hereby certify that the foregoing document, filed through the ECF system, will be electronically
sent to the registered participants as identified in the Notice of Electronic Filing and paper copies
will be sent by first class mail to any identified non-registered participants on this 16th day of
December, 2014.


                                                           /s/Michael T. Kogut
                                                             Michael T. Kogut
